914 F.2d 248Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Thomas Alexander LOVE, Plaintiff-Appellant,v.Aaron JOHNSON, Michael Thumm, Eileen Cochrane, Joseph L.Hamilton, James Martin, Officer L. Rhew, C.D. McAdams, E.Leathers, R. Nichols, C. Holt, K. Watson, Frank Rush, KayDigh, Samuel Wilson, Bradley Rudd, Gregg Starnes, NathanielO. Boykin, Robert C. Lewis, Lachlan F. Kincaid, R.J. Murphy,O. Woods, C. Cameron, J. Wiggins, B. Jones, Jr., R.L.Johnson, Frank Smith, Annie Dodson, Joe Denson, RaymondHayes, Donald S. Mobley, Ronald Pasquerette, Mabel Autin, L.Carden, R.J. Rohlf, M. Polk, Officer D.I. Trocchig, OfficerGeen, John E. Blalock, Defendants-Appellees.
    No. 90-6331.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 27, 1990.Decided Sept. 18, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Malcolm J. Howard, District Judge.  (C/A No. 88-732-H)
      Thomas Alexander Love, appellant pro se.
      Lucien Capone, III, Assistant Attorney General, Raleigh, N.C., for appellees.
      E.D.N.C.
      DISMISSED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Thomas Alexander Love appeals district court order granting partial summary judgment for defendants in Love's 42 U.S.C. Sec. 1983 suit.  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."   Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292.  Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      5
      DISMISSED.
    
    